         Case 1:03-cr-00080-RFC Document 460 Filed 07/31/06 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MONTANA
                                 BILLINGS DIVISION

UNITED STATES OF AMERICA,           )               Cause No. CR-03-80-BLG-RFC
                                    )
            Plaintiff,              )
                                    )
v.                                  )                      ORDER
                                    )
JUAN MORENO,                        )
                                    )
            Defendant.              )
____________________________________)

       This Court sentenced Defendant to a term of 100 months imprisonment in August of

2004. This sentence was rendered pursuant to the United States Sentencing Guidelines, which at

the time were mandatory. Subsequently, the United States Supreme Court has held that the

Federal Sentencing Guidelines are advisory. United States v. Booker, 125 S.Ct. 738, 764 (2005).

On April 21, 2006, the Ninth Circuit remanded Defendant’s sentence for reconsideration in light

of Booker and Ameline.

       Pursuant to United States v. Ameline, 409 F.3d 1073 (9th Cir. 2005), this Court must

determine “whether the sentence imposed would have been materially different had the district

court known that the Guidelines were advisory.” Id. at 1084-85.


                                                1
          Case 1:03-cr-00080-RFC Document 460 Filed 07/31/06 Page 2 of 2



        In this instance, after reviewing the record, the Court answers the question in the negative-

- Defendant Moreno’s sentence would not have been materially different had it known that the

Guidelines were advisory.

        Under United States v. Mix, ____ F.3d ____, 2006 WL 1549737 (9th Cir. 2006), this

Court is required, in fashioning a reasonable sentence, to conduct parallel analysis – first

employing the Guidelines, and then considering the non-guideline sentencing factors under §

3553(a). Pursuant to this directive, the Court concludes that the Guidelines do adequately take

account of the § 3553(a) sentencing factors. Therefore, the Court determines that resentencing

Defendant Moreno’s is unwarranted as his sentence would not materially differ under the advisory

guideline regime.

        Moreover, Defendant Moreno, in his response to the Court, acknowledged that his

sentence would not be affected under the advisory holding of Booker.

        DATED this 31st day of July, 2006.


                                                       /s/ Richard F. Cebull__________
                                                       RICHARD F. CEBULL
                                                       U.S. DISTRICT JUDGE

CERTIFICATE OF SERVICE
DATE: 7/31/06
BY: _____________________
I hereby certify that a copy of
this Order was served upon:
Mark Werner
Marcia Hurd
Probation




                                                  2
